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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                                   No. 1:21-cr-117 (TFH)

ALEX KIRK HARKRIDER (02)


         GOVERNMENT’S RESPONSE TO DEFENDANT HARKRIDER’S
         MOTION TO MODIFY CONDITIONS OF PRETRIAL RELEASE

       The government is not opposed to defendant Harkrider’s motion to modify his

conditions of pretrial release so as to permit him to travel within a 300-mile radius of his

home in Carthage, Texas, for volunteer storm relief efforts. However, the government

respectfully requests that Mr. Harkrider’s conditions of release require him to notify his

supervising Pretrial Services Officer prior to any storm-related travel, and that his travel

outside the Eastern District of Texas continue to be restricted for all other purposes,

absent prior approval of the Court.

       The government is not opposed to Mr. Harkrider’s request to travel to Austin,

Texas, from May 28 to May 30, 2022, to attend a music competition with his son.




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Motion to Modify Conditions of Pretrial Release—Page 1
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                                               Respectfully submitted,

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                                               UNITED STATES ATTORNEY
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